               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 1 of 67 PageID #: 37

Complaint, Exhibit 3.




                               U.S. Patent No. US 8,671,195 v. Vivint, Inc.
                            Claims 1, 2, 3, 5, 6, 7, 8, 9, 11, 17, 18, 19, 21, 22, 23.




                                                                                                  1
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 2 of 67 PageID #: 38

Complaint, Exhibit 3.



1. Claim Chart
    Claim                                                           Analysis
 [1.P]       A Vivint (“Company”) performs and/or induces others to perform a method of digital media communication protocol.
 digital media
 communicati This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 on protocol,
 comprising:   For example, Company provides a home security system, which includes automation products such as thermostats (used
               herein as an exemplary product), locks, cameras, and lighting. Further, these products operate using a smart home
               protocol (“digital media communication protocol”) that enables devices to communicate with each other, exchange
               information, and control functions.




                Source: https://www.vivint.com/packages/home-security




                                                                                                                                    2
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 3 of 67 PageID #: 39

Complaint, Exhibit 3.




                Source: https://www.vivint.com/packages/home-security




                                                                                            Thermostat




                Source: https://www.vivint.com/products/smart-thermostat (annotated)




                                                                                                         3
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 4 of 67 PageID #: 40

Complaint, Exhibit 3.




                  Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.
 [1.1] at least   Company provides at least one media terminal disposed in an accessible relation to at least one interactive computer
 one     media    network.
 terminal
 disposed in      This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 an accessible
 relation to at   For example, the smart thermostat is connected (“accessible relation”) to the Vivint smart hub (“one media terminal”)
 least      one   through the Z-wave smart home protocol (“at least one interactive computer network”).
 interactive
 computer
 network,




                  Source: https://www.vivint.com/resources/article/smart-home-technologies-guide


                                                                                                                                           4
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 5 of 67 PageID #: 41

Complaint, Exhibit 3.




                                                                  Media terminal




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.



                                                                                                                                         5
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 6 of 67 PageID #: 42

Complaint, Exhibit 3.



 [1.2]        a   Company provides a wireless range structured to permit authorized access to said at least one interactive computer
 wireless         network.
 range
 structured to    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 permit
 authorized       For example, to pair the thermostat device with the smart hub, the thermostat device must be within the range of 100
 access to said   meters (“a wireless range”) of the Z-wave protocol. Further, Z-Wave network and devices in the Z-wave network are
 at least one     identified with their respective unique IDs. The unique IDs prevents unauthorized devices to access the Z-wave network.
 interactive      Therefore, upon information and belief, the thermostat devices that are within the wireless range of the Z-wave protocol
 computer         are structured to permit authorized access to pair with the smart hub.
 network,




                  Source: https://www.vivint.com/resources/article/smart-home-technologies-guide




                  Source: https://www.techtarget.com/iotagenda/definition/Z-Wave



                                                                                                                                             6
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 7 of 67 PageID #: 43

Complaint, Exhibit 3.




                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.
 [1.3] at least
 one     media    Company provides at least one media node disposable within said wireless range, wherein said at least one media node
 node             is detectable by said at least one media terminal.
 disposable
                  This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 within said
 wireless         For example, the smart hub is paired to the thermostat (“one media node”) when it is located within the range of the Z-
 range,           Wave protocol (“disposable within said wireless range”). Further, during pairing, the smart hub searches for the nearby
 wherein said     thermostat devices to get paired (“one media node is detectable by said at least one media terminal”).
 at least one
 media node is
 detectable by
 said at least
 one     media
 terminal,




                  Source: https://www.z-wave.com/learn




                                                                                                                                            7
                    Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 8 of 67 PageID #: 44

Complaint, Exhibit 3.




                                                                          Media terminal
                                                                           Media node




                    Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)

                    Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Company.
 [1.4] at least
 one      digital   Company provides at least one digital media file initially disposed on at least one of said at least one media terminal or
 media       file   said at least one media node, said at least one media terminal being structured to detect said at least one media node
 initially          disposed within said wireless range.
 disposed on
                    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 at least one of
 said at least      For example, to pair the thermostat to the smart hub, ‘smart home devices’ settings followed by ‘Z-wave’ and ‘Add
 one       media    Node’ settings are selected on the hub to pair with the thermostat. Further, when the thermostat’s side button is held for
 terminal or        6 seconds, it starts searching (“said at least one media terminal being structured to detect said at least one media node”)
 said at least      for the Z-wave network, and upon clicking the Connect button for the searched network, the thermostat is paired with
 one       media    the smart hub.
 node, said at
 least       one    Furthermore, after the thermostat is connected to the smart hub, the smart hub allows users to control the thermostat by
 media              providing various functionalities on the smart hub such as changing room temperature, selecting different modes, and

                                                                                                                                                  8
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 9 of 67 PageID #: 45

Complaint, Exhibit 3.



 terminal       adjusting heating types. Therefore, it would be apparent to a person having ordinary skill in the art that the smart hub
 being          stores the settings to adjust the temperature on the thermostat.
 structured to
 detect said at
 least     one
 media node
 disposed
 within said
 wireless
 range,




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                                                                                                                                           9
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 10 of 67 PageID #: 46

Complaint, Exhibit 3.




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat




                                                                    Adjust Temperature




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)




                                                                                                     10
                   Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 11 of 67 PageID #: 47

Complaint, Exhibit 3.




                    Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                    Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Company.
 [1.5]         a
 communicati        Company provides a communication link structured to dispose said at least one media terminal and said at least one
 on         link    media node in a communicative relation with one another via said at least one interactive computer network.
 structured to
                    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 dispose said
 at least one       For example, when the pairing process is complete, a link ("communicative relation”) is established between the
 media              thermostat and the smart hub via Z-wave protocol (“said at least one interactive computer network”) such that the user
 terminal and       adjusts the temperature on the thermostat via the smart hub.
 said at least
 one      media
 node in a
 communicati
 ve     relation
 with       one
 another via
 said at least
 one
 interactive        Source: https://www.vivint.com/resources/article/smart-home-technologies-guide
 computer
 network,




                                                                                                                                         11
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 12 of 67 PageID #: 48

Complaint, Exhibit 3.




                   Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [1.6]     said    Company provides communication link being initiated by said at least one media terminal.
 communicati
 on link being     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 initiated by
 said at least     For example, to pair the thermostat with the smart hub, ‘smart home devices’ settings followed by the ‘Z-wave’ and
 one      media    ‘Add Node’ settings are selected on the hub to pair with the thermostat (“said communication link being initiated by said
 terminal,         at least one media terminal”).




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.




                                                                                                                                           12
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 13 of 67 PageID #: 49

Complaint, Exhibit 3.



 [1.7] said at     Company provides at least one media node and said at least one media terminal being structured to transmit said at least
 least      one    one digital media file therebetween via said communication link.
 media node
 and said at       This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least      one
 media             For example, once the pairing process is complete, the smart hub allows the users to adjust the temperature settings for
 terminal          the thermostat directly from the smart hub. When the user modifies the room temperature using the smart hub, the
 being             adjusted temperature is reflected on the connected thermostat device as the target temperature. Therefore, it would be
 structured to     apparent to a person having ordinary skill in the art that the modified temperature instruction (“digital media file”) is
 transmit said     transmitted from the smart hub to the thermostat via the established link.
 at least one
 digital media
 file
 therebetween
 via       said
 communicati                                                                   User adjusting
 on link, and                                                                  temperature to 73° F via
                                                                               smart hub




                   Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:10 (annotated)




                                                                                                                                           13
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 14 of 67 PageID #: 50

Complaint, Exhibit 3.




                                                            Modified temperature
                                                            (73° F) being displayed
                                                            on thermostat device




                   Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:57 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [1.8]     said    Company provides communication link is structured to bypass at least one media terminal security measure.
 communicati
 on link is        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 structured to
 bypass      at    For example, once the devices are paired, a link is established between them, enabling the users to adjust the thermostat's
 least     one     temperature settings directly from the smart hub without the need to regularly pair the devices. As pairing is not necessary
 media             each time to make temperature adjustments via the smart hub, it would be apparent to a person having ordinary skill in
 terminal          the art that the established communication link is designed to bypass security measures related to the smart hub.
 security
 measure.




                                                                                                                                              14
                   Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 15 of 67 PageID #: 51

Complaint, Exhibit 3.




                    Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                    Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Company.


 [2]        The
 digital media      Company provides the digital media communication protocol recited in claim 1 wherein said digital media file is initially
 communicati        disposed on said at least one media node.
 on protocol
                    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 recited      in
 claim         1    For example, the smart hub and the thermostat are fully integrated therefore, the reading on/measured by the thermostat
 wherein            (“digital media file is initially disposed on said at least one media node”) is reflected on the smart hub.
 said digital
 media file is
 initially
 disposed on
 said at least
 one       media
 node.




                                                                                                                                            15
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 16 of 67 PageID #: 52

Complaint, Exhibit 3.



                Source:
                https://wwwassets.s3.amazonaws.com/global/vivint.com/Support/images/Vivint_SmartHubV2_GettingStartedGuide_E
                NU%20-%20revA.2.pdf , Page 13




                Source: https://www.vivint.com/products/smart-thermostat




                                                               Media Node




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [3]      The
 digital media Company provides the digital media communication protocol recited in claim 2 wherein said at least one media terminal
 communicati is structured to display said at least one digital media file.


                                                                                                                                     16
                 Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 17 of 67 PageID #: 53

Complaint, Exhibit 3.



 on protocol
 recited    in    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 claim       2
                  For example, the smart hub and the thermostat are fully integrated therefore, the temperature measured by the thermostat
 wherein
                  is reflected on the smart hub (“said at least one media terminal is structured to display said at least one digital media
 said at least
                  file”).
 one     media
 terminal   is
 structured to
 display said
 at least one
 digital media
 file.

                                                                                                                   Media terminal




                                                                               Thermostat reading reflected on the media terminal

                  Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)
                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.
 [4]      The
 digital media    Company provides the digital media communication protocol recited in claim 2 wherein said at least one media terminal
 communicati      is structured to store said at least one digital media file.
 on protocol
                  This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 recited    in
 claim       2    For example, the adjusted thermostat reading is reflected on the smart hub, and it remains constant on the smart hub until
 wherein          the reading is changed. Therefore, it would be apparent to a person having ordinary skill in the art that the smart hub is

                                                                                                                                           17
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 18 of 67 PageID #: 54

Complaint, Exhibit 3.



 said at least structured to store the temperature readings (“said at least one media terminal is structured to store said at least one digital
 one     media media file”).
 terminal    is
 structured to
 store said at
 least     one
 digital media
 file.




                                                                                Thermostat reading stored on the media terminal
                   Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [5]       The
 digital media     Company provides the digital media communication protocol recited in claim 2 wherein said media terminal is structured
 communicati       to manipulate said at least one digital media file.
 on protocol
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 recited    in
 claim        2    For example, the smart hub allows the users to adjust the temperature settings for the thermostat directly from the smart
 wherein           hub. When the user modifies the room temperature using the smart hub (“said media terminal is structured to manipulate
 said    media     said at least one digital media file”), the adjusted temperature is reflected on the connected thermostat device as the target
 terminal    is    temperature.
 structured to
 manipulate

                                                                                                                                                18
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 19 of 67 PageID #: 55

Complaint, Exhibit 3.



 said at least
 one    digital
 media file.


                                                                      User adjusting
                                                                      temperature to 73° F via
                                                                      smart hub




                   Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:10 (annotated)




                                                     Modified temperature
                                                     (73° F) being displayed
                                                     on thermostat device




                                                                                                      19
                   Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 20 of 67 PageID #: 56

Complaint, Exhibit 3.



                    Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:57 (annotated)

                    Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Company.
 [6]        The
 digital media      Company provides the digital media communication protocol recited in claim 1 wherein said digital media file is initially
 communicati        disposed on said at least one media terminal.
 on protocol
                    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 recited      in
 claim         1    For example, the smart hub allows the users to adjust the temperature settings for the thermostat directly from the smart
 wherein            hub. When the user modifies the room temperature using the smart hub (“digital media file is initially disposed on said
 said digital       at least one media terminal”), the adjusted temperature is reflected on the connected thermostat device as the target
 media file is      temperature.
 initially
 disposed on
 said at least
 one       media
 terminal.
                                                                                User adjusting
                                                                                temperature to 73° F via
                                                                                smart hub




                    Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:10 (annotated)


                                                                                                                                            20
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 21 of 67 PageID #: 57

Complaint, Exhibit 3.




                                                            Modified temperature
                                                            (73° F) being displayed
                                                            on thermostat device




                   Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:57 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [7]       The
 digital media     Company provides the digital media communication protocol recited in claim 6 wherein said at least one media terminal
 communicati       is structured to transmit said at least one digital media file to said at least one media node via said communication link.
 on protocol
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 recited    in
 claim        6    For example, the smart hub allows the users to adjust the temperature settings for the thermostat directly from the smart
 wherein           hub. When the user modifies the room temperature using the smart hub, the adjusted temperature is reflected on the
 said at least     connected thermostat device as the target temperature. Therefore, it would be apparent to a person having ordinary skill
 one     media     in the art that the modified temperature instruction (“digital media file”) is transmitted from the smart hub to the
 terminal    is    thermostat via the established link.
 structured to
 transmit said
 at least one


                                                                                                                                             21
                   Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 22 of 67 PageID #: 58

Complaint, Exhibit 3.



 digital media
 file to said at
 least      one
 media node
 via        said
 communicati                                                           User adjusting
 on link.                                                              temperature to 73° F via
                                                                       smart hub




                    Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:10 (annotated)




                                                      Modified temperature
                                                      (73° F) being displayed
                                                      on thermostat device




                                                                                                       22
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 23 of 67 PageID #: 59

Complaint, Exhibit 3.



                   Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:57 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [8]       The
 digital media     Company provides the digital media communication protocol recited in claim 6 wherein said at least one media node is
 communicati       structured to display said digital media file.
 on protocol
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 recited    in
 claim        6    For example, when the user modifies the room temperature using the smart hub, the adjusted temperature is reflected on
 wherein           the connected thermostat device as the target temperature (“at least one media node is structured to display said digital
 said at least     media file”).
 one     media
 node        is
 structured to
 display said
 digital media
 file.
                                                            Modified temperature
                                                            being displayed on
                                                            thermostat device




                   Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:57 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.




                                                                                                                                           23
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 24 of 67 PageID #: 60

Complaint, Exhibit 3.



 [9]       The
 digital media     Company provides the digital media communication protocol recited in claim 6 wherein said at least one media node is
 communicati       structured to store said at least one digital media file.
 on protocol
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 recited    in
 claim        6    For example, the temperature reading adjusted via smart hub is displayed on the thermostat, and it remains constant on
 wherein           the thermostat until the reading is changed. Therefore, it would be apparent to a person having ordinary skill in the art
 said at least     that the thermostat is structured to store the temperature readings (“said at least one media node is structured to store said
 one     media     at least one digital media file”).
 node        is
 structured to
 store said at
 least     one
 digital media
 file.
                                                                               User adjusting
                                                                               temperature to 73° F via
                                                                               smart hub




                   Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:10 (annotated)




                                                                                                                                                24
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 25 of 67 PageID #: 61

Complaint, Exhibit 3.




                                                             Modified temperature
                                                             reading stored on the
                                                             media node




                   Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:57 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [10]      The
 digital media     Company provides the digital media communication protocol recited in claim 6 wherein said at least one media node is
 communicati       structured to manipulate said at least one digital media file.
 on protocol
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 recited    in
 claim        6    For example, when the user modifies the room temperature using the smart hub, the adjusted temperature is reflected on
 wherein           the connected thermostat device as the target temperature. Furthermore, the thermostat device allows the user to adjust
 said at least     the temperature settings on the thermostat previously set via the smart hub (“one media node is structured to manipulate
 one     media     said at least one digital media file”) or thermostat.
 node        is
 structured to
 manipulate
 said at least



                                                                                                                                          25
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 26 of 67 PageID #: 62

Complaint, Exhibit 3.



 one    digital
 media file.




                   Source: https://support.vivint.com/article/element-change-temperature

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [11]      The
 digital media     Company provides the digital media communication protocol recited in claim 1 wherein said at least one media node
 communicati       includes a portable device.
 on protocol
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 recited     in
 claim        1    For example, the thermostat device is a small wall-fitted device that indicates its portability (“one media node includes
 wherein           a portable device”).
 said at least
 one     media
 node includes
 a     portable
 device.



                                                                                                                                           26
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 27 of 67 PageID #: 63

Complaint, Exhibit 3.




                                                                       Portable device




                Source: https://www.vivint.com/products/smart-thermostat (annotated)

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [17.P]      A Vivint (“Company”) performs and/or induces others to perform a method of digital media communication protocol.
 digital media
 communicati This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 on protocol,
 comprising:   For example, Company provides a home security system, which includes automation products such as thermostats (used
               herein as an exemplary product), locks, cameras, and lighting. Further, these products operate using a smart home
               protocol (“digital media communication protocol”) that enables devices to communicate with each other, exchange
               information, and control functions.




                                                                                                                                     27
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 28 of 67 PageID #: 64

Complaint, Exhibit 3.




                Source: https://www.vivint.com/packages/home-security




                Source: https://www.vivint.com/packages/home-security




                                                                                                   28
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 29 of 67 PageID #: 65

Complaint, Exhibit 3.




                                                                                                                Thermostat




                Source: https://www.vivint.com/products/smart-thermostat (annotated)




                Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [17.1] at least
 one     media Company provides at least one media terminal and at least one media node disposed in an accessible relation with at
 terminal and least one interactive computer network.
 at least one
                 This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media node
 disposed in

                                                                                                                                     29
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 30 of 67 PageID #: 66

Complaint, Exhibit 3.



 an accessible
 relation with For example, the smart thermostat (“media node”) is connected (“accessible relation”) to the Vivint smart hub (“media
 at least one terminal”) through the Z-wave smart home network (“at least one interactive computer network”).
 interactive
 computer
 network,




                Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                                             Media Node
                                                                  Media terminal




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)



                                                                                                                                   30
                    Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 31 of 67 PageID #: 67

Complaint, Exhibit 3.




                     Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                     Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                     supplement these contentions pursuant to production of such source code by the Company.
 [17.2] at least
 one      digital    Company provides at least one digital media file initially disposed on at least one of said media terminal or said media
 media       file    node, said at least one media terminal structured to detect said at least one media node.
 initially
                     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 disposed on
 at least one of     For example, to pair the thermostat to the smart hub, ‘smart home devices’ settings followed by the “Z-wave” and “Add
 said      media     Node” settings are selected on the hub to pair with the thermostat and when the thermostat’s side button is held for 6
 terminal or         seconds, it starts searching (“said at least one media terminal structured to detect said at least one media node”) for the
 said      media     Z-wave network, and upon clicking the Connect button for the searched network, the thermostat is paired with the smart
 node, said at       hub.
 least       one     Furthermore, after the thermostat is connected to the smart hub, the smart hub allows users to control the thermostat by
 media               providing various functionalities on the smart hub such as changing room temperature, selecting different modes, and
 terminal            adjusting heating types. Therefore, it would be apparent to a person having ordinary skill in the art that the smart hub
 structured to       stores the settings to adjust the temperature on the thermostat.
 detect said at
 least       one
 media node,

                                                                                                                                               31
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 32 of 67 PageID #: 68

Complaint, Exhibit 3.




                                                                  Media terminal
                                                                Media Node




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat



                                                                                                             32
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 33 of 67 PageID #: 69

Complaint, Exhibit 3.




                                                                    Adjust Temperature




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat



                                                                                                     33
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 34 of 67 PageID #: 70

Complaint, Exhibit 3.



                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [17.3]        a Company provides a communication link structured to dispose said at least one media terminal and said at least one
 communicati media node in a communicative relation with one another via said interactive computer network.
 on         link
 structured to This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 dispose said
                 For example, when the pairing process is complete, a link ("communicative relation”) is established between the
 at least one
                 thermostat and the smart hub via Z-wave protocol (“said interactive computer network”) such that the user adjusts the
 media
                 temperature on the thermostat via the smart hub.
 terminal and
 said at least
 one      media
 node in a
 communicati
 ve     relation
 with       one
 another via
 said
 interactive
 computer        Source: https://www.vivint.com/resources/article/smart-home-technologies-guide
 network,




                Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.


                                                                                                                                      34
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 35 of 67 PageID #: 71

Complaint, Exhibit 3.



 [17.4]    said    Company provides the communication link being initiated by said at least one media terminal.
 communicati
 on link being     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 initiated by
 said at least     For example, to pair the thermostat to the smart hub, ‘smart home devices’ settings followed by the “Z-wave” and “Add
 one      media    Node” settings are selected on the hub to pair with the thermostat (“said communication link being initiated by said at
 terminal          least one media terminal”).




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [17.5] said at Company provides at least one media node and said at least one media terminal structured to transmit said at least one
 least     one digital media file therebetween via said communication link.
 media node
 and said at This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least     one
 media          For example, after the pairing process is complete, the smart hub allows the users to adjust the temperature settings for
 terminal       the thermostat directly from the smart hub. When the user modifies the room temperature using the smart hub, the
 structured to adjusted temperature is reflected on the connected thermostat device as the target temperature. Therefore, it would be
 transmit said

                                                                                                                                         35
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 36 of 67 PageID #: 72

Complaint, Exhibit 3.



 at least one apparent to a person having ordinary skill in the art that the modified temperature instruction (“digital media file”) is
 digital media transmitted from the smart hub to the thermostat via the established link.
 file
 therebetween
 via       said
 communicati
 on       link,
 wherein                                                                 User adjusting
                                                                         temperature to 73° F via
                                                                         smart hub




                Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:10 (annotated)




                                                                                                                                      36
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 37 of 67 PageID #: 73

Complaint, Exhibit 3.




                                                      Modified temperature
                                                      (73° F) being displayed
                                                      on thermostat device




                Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:57 (annotated)

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.




                                                                                                                                     37
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 38 of 67 PageID #: 74

Complaint, Exhibit 3.



 [17.6]    said    Company provides communication link is structured to bypass at least one media terminal security measure.
 communicati
 on link is        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 structured to
 bypass      at    For example, once the devices are paired, a link is established between them, enabling the users to adjust the thermostat's
 least     one     temperature settings directly from the smart hub without the need to regularly pair the devices. As pairing is not necessary
 media             each time to make temperature adjustments via the smart hub, it would be apparent to a person having ordinary skill in
 terminal          the art that the established communication link is designed to bypass security measures related to the smart hub.
 security
 measure.




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [18]      The Company provides digital media communication protocol recited in claim 17 further comprising a wireless range
 digital media structured to permit authorized access to said at least one interactive computer network.
 communicati
 on protocol This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 recited     in
 claim       17 For example, to pair the thermostat device with the smart hub, the thermostat device must be within the range of 100
 further        meters (“a wireless range”) of the Z-wave protocol. Further, Z-Wave network and devices in the Z-wave network are
 comprising     identified with their respective unique IDs. The unique IDs prevents unauthorized devices to access the Z-wave network.
 a     wireless Therefore, it would be apparent to a person having ordinary skill in the art that the thermostat devices that are within the
 range          wireless range of the Z-wave protocol are structured to permit authorized access to pair with the smart hub.


                                                                                                                                              38
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 39 of 67 PageID #: 75

Complaint, Exhibit 3.



 structured to
 permit
 authorized
 access to said
 at least one
 interactive
 computer
 network.




                   Source: https://www.vivint.com/resources/article/smart-home-technologies-guide




                   Source: https://www.techtarget.com/iotagenda/definition/Z-Wave

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Company.
 [19]     The Company provides digital media communication protocol recited in claim 18 wherein said at least one media node is
 digital media disposable within said wireless range and detectable by said at least one media terminal.
 communicati
 on protocol This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 recited    in
 claim     18 For example, the smart hub is paired to the thermostat (“one media node”) when it is located within the range of the Z-
 wherein       Wave protocol (“disposable within said wireless range”). Further, during pairing, the smart hub searches for the nearby
               thermostat devices to get paired (“detectable by said at least one media terminal”).


                                                                                                                                     39
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 40 of 67 PageID #: 76

Complaint, Exhibit 3.



 said at least
 one     media
 node        is
 disposable
 within said
 wireless
 range     and
 detectable by
 said at least
 one     media Source: https://www.z-wave.com/learn
 terminal.
                                                                  Media terminal
                                                                   Media node




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Company.
 [21.P]      A Vivint (“Company”) performs and/or induces others to perform a method of digital media communication protocol.
 digital media
 communicati This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 on protocol,
 comprising:

                                                                                                                                    40
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 41 of 67 PageID #: 77

Complaint, Exhibit 3.



                For example, Company provides a home security system, which includes automation products such as thermostats (used
                herein as an exemplary product), locks, cameras, and lighting. Further, these products operate using a smart home
                protocol (“digital media communication protocol”) that enables devices to communicate with each other, exchange
                information, and control functions.




                Source: https://www.vivint.com/packages/home-security




                Source: https://www.vivint.com/packages/home-security


                                                                                                                                 41
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 42 of 67 PageID #: 78

Complaint, Exhibit 3.




                                                                                                                Thermostat




                Source: https://www.vivint.com/products/smart-thermostat (annotated)




                Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [21.1] at least
 one     media Company provides at least one media terminal disposed in an accessible relation to at least one interactive computer
 terminal        network.
 disposed in
                 This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 an accessible
 relation to at


                                                                                                                                     42
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 43 of 67 PageID #: 79

Complaint, Exhibit 3.



 least      one
 interactive    For example, the smart thermostat is connected (“accessible relation”) to the Vivint smart hub (“one media terminal”)
 computer       through the Z-wave smart home protocol (“at least one interactive computer network”).
 network,




                Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                                                                  Media terminal




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)




                                                                                                                                    43
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 44 of 67 PageID #: 80

Complaint, Exhibit 3.




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [21.2]       a
 wireless          Company provides a wireless range structured to permit authorized access to said at least one interactive computer
 range             network.
 structured to
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 permit
 authorized        For example, to pair the thermostat device with the smart hub, the thermostat device must be within the range of 100
 access to said    meters (“a wireless range”) of the Z-wave protocol. Further, Z-Wave network and devices in the Z-wave network are
 at least one      identified with their respective unique IDs. The unique IDs prevents unauthorized devices to access the Z-wave network.
 interactive       Therefore, it would be apparent to a person having ordinary skill in the art that the thermostat devices that are within the
 computer          wireless range of the Z-wave protocol are structured to permit authorized access to pair with the smart hub.
 network,




                                                                                                                                              44
                   Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 45 of 67 PageID #: 81

Complaint, Exhibit 3.




                    Source: https://www.vivint.com/resources/article/smart-home-technologies-guide




                    Source: https://www.techtarget.com/iotagenda/definition/Z-Wave

                    Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Company.
 [21.3] at least
 one     media      Company provides at least one media node disposed within said wireless range, said media node including a portable
 node               device being detectable by said at least one media terminal.
 disposed
                    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 within said
 wireless           For example, the smart hub is paired to the thermostat when it is located within the range of the Z-Wave protocol (“one
 range, said        media node disposed within said wireless range”). Further, during pairing, the smart hub searches for the nearby
 media node

                                                                                                                                          45
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 46 of 67 PageID #: 82

Complaint, Exhibit 3.



 including a thermostat devices (“media node”) to get paired (“one media node including a portable device being detectable by said
 portable      at least one media terminal”).
 device being
 detectable by
 said at least
 one     media
 terminal,




                 Source: https://www.z-wave.com/learn

                                                                    Media terminal
                                                                     Media node




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [21.4] at least
 one     digital Company provides at least one digital media file disposed on at least one of said at least one media terminal or said at
 media       file least one media node, said at least one media terminal structured to detect said at least one media node.

                                                                                                                                        46
                   Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 47 of 67 PageID #: 83

Complaint, Exhibit 3.



 disposed on
 at least one of    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 said at least
                    For example, to pair the thermostat to the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add
 one      media
                    Node” settings are selected on the hub to pair with the thermostat. Further, when the thermostat’s side button is held for
 terminal or
                    6 seconds, it starts searching (“said at least one media terminal being structured to detect said at least one media node”)
 said at least
                    for the Z-wave network, and upon clicking the Connect button for the searched network, the thermostat is paired with
 one      media
                    the smart hub.
 node, said at
 least      one     Furthermore, once the thermostat is connected to the smart hub, the smart hub allows users to control the thermostat by
 media              providing various functionalities on the smart hub such as changing room temperature, selecting different modes, and
 terminal           adjusting heating types. Therefore, it would be apparent to a person having ordinary skill in the art that the smart hub
 structured to      stores the settings to adjust the temperature on the thermostat.
 detect said at
 least      one                                                           Media terminal
 media node,
                                                                       Media Node




                    Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)




                                                                                                                                              47
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 48 of 67 PageID #: 84

Complaint, Exhibit 3.




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat




                                                                    Adjust Temperature




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                                                                                                     48
                   Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 49 of 67 PageID #: 85

Complaint, Exhibit 3.




                    Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                    Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Company.
 [21.5]        a
 communicati        Company provides a communication link structured to dispose said at least one media terminal and said at least one
 on         link    media node in a communicative relation with one another via said interactive computer network.
 structured to
                    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 dispose said
 at least one       For example, when the pairing process is complete, a link ("communicative relation”) is established between the
 media              thermostat and the smart hub via Z-wave protocol (“said interactive computer network”) such that the user adjusts the
 terminal and       temperature on the thermostat via the smart hub.
 said at least
 one      media
 node in a
 communicati
 ve     relation
 with       one
 another via

                                                                                                                                         49
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 50 of 67 PageID #: 86

Complaint, Exhibit 3.



 said
 interactive
 computer
 network,




                Source: https://www.vivint.com/resources/article/smart-home-technologies-guide




                Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [21.6]    said Company provides communication link being initiated by said at least one media terminal.
 communicati
 on link being This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 initiated by
 said at least For example, to pair the thermostat with the smart hub, ‘smart home devices’ settings are selected on the hub. Further,
 one      media “Z-wave” and “Add Node” settings are selected to pair with the thermostat (“said communication link being initiated by
 terminal       said at least one media terminal”).




                                                                                                                                     50
                   Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 51 of 67 PageID #: 87

Complaint, Exhibit 3.




                    Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                    Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Company.

 [21.7] said at     Company provides at least one digital media file structured to be selectively transmitted between said at least one media
 least       one    node and said at least one media terminal.
 digital media
 file structured    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 to           be
 selectively        For example, after the pairing process is complete, the smart hub allows the users to adjust the temperature settings for
 transmitted        the thermostat directly from the smart hub. When the user modifies the room temperature using the smart hub, the
 between said       adjusted temperature is reflected on the connected thermostat device as the target temperature. Therefore, it would be
 at least one       apparent to a person having ordinary skill in the art that the modified temperature instruction (“digital media file”) is
 media node         transmitted from the smart hub to the thermostat via the established link.
 and said at
 least       one
 media
 terminal,
 wherein

                                                                                                                                            51
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 52 of 67 PageID #: 88

Complaint, Exhibit 3.




                                                                   User adjusting
                                                                   temperature to 73° F via
                                                                   smart hub




                Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:10 (annotated)




                                                  Modified temperature
                                                  (73° F) being displayed
                                                  on thermostat device




                Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:57 (annotated)

                                                                                                   52
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 53 of 67 PageID #: 89

Complaint, Exhibit 3.




                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.

 [21.8]    said    Company provides communication link is structured to bypass at least one media terminal security measure.
 communicati
 on link is        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 structured to
 bypass      at    For example, once the devices are paired, a link is established between them, enabling the users to adjust the thermostat's
 least     one     temperature settings directly from the smart hub without the need to regularly pair the devices. As pairing is not necessary
 media             each time to make temperature adjustments via the smart hub, it would be apparent to a person having ordinary skill in
 terminal          the art that the established communication link is designed to bypass security measures related to the smart hub.
 security
 measure.




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Company.
 [22]     The Company provides digital media communication protocol recited in claim 21 wherein said communication link is
 digital media structured to bypass at least one wireless range security measure.
 communicati
 on protocol This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 recited    in
               For example, once the devices are paired, a link is established between them, enabling the users to adjust the thermostat's
               temperature settings directly from the smart hub without the need to regularly pair the devices. As pairing is not necessary

                                                                                                                                              53
                 Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 54 of 67 PageID #: 90

Complaint, Exhibit 3.



 claim      21 each time to make temperature adjustments via the smart hub, it would be apparent to a person having ordinary skill in
 wherein        the art that the said communication link is structured to bypass Z-Wave (“at least one wireless range”) security measure.
 said
 communicati
 on link is
 structured to
 bypass      at
 least     one
 wireless
 range
 security
 measure.
                  Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.
 [23.P] A         Vivint (“Company”) performs and/or induces others to perform a method of digital media communication protocol.
 digital media
 communicati      This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 on protocol,
 comprising:      For example, Company provides a home security system, which includes automation products such as thermostats (used
                  herein as an exemplary product), locks, cameras, and lighting. Further, these products operate using a smart home
                  protocol (“digital media communication protocol”) that enables devices to communicate with each other, exchange
                  information, and control functions.




                                                                                                                                        54
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 55 of 67 PageID #: 91

Complaint, Exhibit 3.




                Source: https://www.vivint.com/packages/home-security




                Source: https://www.vivint.com/packages/home-security




                                                                                                   55
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 56 of 67 PageID #: 92

Complaint, Exhibit 3.




                                                                                                                  Thermostat




                 Source: https://www.vivint.com/products/smart-thermostat (annotated)




                 Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [23.1] at least Company provides an at least one media terminal disposed in an accessible relation to at least one interactive computer
 one     media network.
 terminal
 disposed in This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 an accessible


                                                                                                                                       56
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 57 of 67 PageID #: 93

Complaint, Exhibit 3.



 relation to at
 least      one For example, the smart thermostat is connected (“accessible relation”) to the Vivint smart hub (“one media terminal”)
 interactive    through the Z-wave smart home protocol (“at least one interactive computer network”).
 computer
 network,




                Source: https://www.vivint.com/resources/article/smart-home-technologies-guide


                                                                  Media terminal




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)




                                                                                                                                    57
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 58 of 67 PageID #: 94

Complaint, Exhibit 3.




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Company.
 [23.2]      a Company provides a wireless range structured to permit authorized access to said at least one interactive computer
 wireless      network.
 range
 structured to     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 permit
 authorized        For example, to pair the thermostat device with the smart hub, the thermostat device must be within the range of 100
 access to said    meters (“a wireless range”) of the Z-wave protocol. Further, Z-Wave network and devices in the Z-wave network are
 at least one      identified with their respective unique IDs. The unique IDs prevents unauthorized devices to access the Z-wave network.
 interactive       Therefore, upon information and belief, the thermostat devices that are within the wireless range of the Z-wave protocol
 computer          are structured to permit authorized access to pair with the smart hub.
 network,




                                                                                                                                          58
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 59 of 67 PageID #: 95

Complaint, Exhibit 3.




                 Source: https://www.vivint.com/resources/article/smart-home-technologies-guide




                 Source: https://www.techtarget.com/iotagenda/definition/Z-Wave

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [23.3] at least Company provides an at least one media node disposed within said wireless range, wherein said at least one media node
 one     media is detectable by said at least one media terminal.
 node
 disposed        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 within said
 wireless        For example, the smart hub is paired to the thermostat (“one media node”) when it is located within the range of the Z-
 range,          Wave protocol (“disposed within said wireless range”). Further, during pairing, the smart hub searches for the nearby
                 thermostat devices to get paired (“one media node is detectable by said at least one media terminal”).

                                                                                                                                       59
                 Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 60 of 67 PageID #: 96

Complaint, Exhibit 3.



 wherein said
 at least one
 media node is
 detectable by
 said at least
 one     media
 terminal,


                  Source: https://www.z-wave.com/learn

                                                                    Media terminal
                                                                     Media node




                  Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.
 [23.4] at least Company provides an at least one digital media file disposed on said at least one media node, said at least one media
 one     digital terminal being structured to detect said at least one media node.
 media       file
 disposed on This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 said at least

                                                                                                                                       60
                  Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 61 of 67 PageID #: 97

Complaint, Exhibit 3.



 one     media     For example, the thermostat displays a current temperature and a target temperature (“digital media file initially disposed
 node, said at     on said at least one media node”) and the same reading is reflected on the smart hub.
 least     one
 media
 terminal          Further, to pair the thermostat and the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add Node”
 being             settings are selected on the hub to pair with the thermostat. Furthermore, when the thermostat’s side button is held for 6
 structured to     seconds, it becomes detectable for the Z-wave network (“said at least one media terminal being structured to detect said
 detect said at    at least one media node”), and upon clicking the Connect button for the searched network, the thermostat is paired with
 least     one     the smart hub.
 media node,




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                                                                                                                                             61
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 62 of 67 PageID #: 98

Complaint, Exhibit 3.




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat

                                                                 Media terminal

                                                               Media node




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat


                                                                                                   62
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 63 of 67 PageID #: 99

Complaint, Exhibit 3.



                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [23.5]        a Company provides a communication link structured to dispose said at least one media terminal and said at least one
 communicati media node in a communicative relation with one another via said at least one interactive computer network.
 on         link
 structured to This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 dispose said
 at least one For example, when the pairing process is complete, a link ("communicative relation”) is established between the
 media           thermostat and the smart hub via Z-wave protocol (“said at least one interactive computer network”).
 terminal and
 said at least
 one      media
 node in a
 communicati
 ve     relation
 with       one
 another via
 said at least
 one
 interactive
 computer
 network,
                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                                                                                                                                      63
              Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 64 of 67 PageID #: 100

Complaint, Exhibit 3.




                 Source: https://www.vivint.com/resources/article/smart-home-technologies-guide




                 Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [23.6]    said Company provides a communication link being initiated by said at least one media terminal and structured to bypass at
 communicati least one media terminal security measure.
 on link being
 initiated by This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 said at least
 one      media For example, to pair the thermostat with the smart hub, ‘smart home devices’ settings followed by the ‘Z-wave’ and
 terminal and ‘Add Node’ settings are selected on the hub to pair with the thermostat (“said communication link being initiated by said
 structured to at least one media terminal”). Further, once the devices are paired, a link is established between them, enabling the users
 bypass      at to adjust the thermostat's temperature settings both from the thermostat and the smart hub as they are integrated with
 least     one each other. As pairing is not necessary each time to make temperature adjustments via the smart hub, it would be apparent
 media          to a person having ordinary skill in the art that the established communication link is designed to bypass security
 terminal       measures related to the smart hub.
 security
 measure,




                                                                                                                                         64
              Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 65 of 67 PageID #: 101

Complaint, Exhibit 3.




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [23.7]    said Company provides media node structured to transmit said at least one digital media file to said media terminal via said
 media node communication link.
 structured to
 transmit said This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 at least one
 digital media For example, after the pairing process is complete, the smart hub and the thermostat are connected to each other. Since,
 file to said the smart hub and the thermostat are fully integrated, the temperature measured by the thermostat is reflected on the
 media          bottom of the smart hub screen. Therefore, it would be apparent to a person having ordinary skill in the art that the
 terminal via thermostat constantly syncs the temperature reading with the smart hub (“media node structured to transmit said at least
 said           one digital media file to said media terminal via said communication link”).
 communicati
 on link.



                Source: https://www.vivint.com/products/smart-thermostat

                                                                                                                                      65
              Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 66 of 67 PageID #: 102

Complaint, Exhibit 3.




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.




                                                                                                                                     66
               Case 2:24-cv-00098-JRG-RSP Document 1-3 Filed 02/13/24 Page 67 of 67 PageID #: 103

Complaint, Exhibit 3.



2. List of References

   1.   https://www.vivint.com/packages/home-security, last accessed on 08th February, 2023.
   2.   https://www.vivint.com/products/smart-thermostat, last accessed on 08th February, 2023.
   3.   https://www.vivint.com/resources/article/smart-home-technologies-guide, last accessed on 08th February, 2023.
   4.   https://support.vivint.com/article/Smart-Properties-Element-Thermostat, last accessed on 08th February, 2023.
   5.   https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat, last accessed on 08th February, 2023.
   6.   https://www.youtube.com/watch?v=NT36UmzH1A0, last accessed on 08th February, 2023.
   7.   https://support.vivint.com/article/element-change-temperature, last accessed on 08th February, 2023.
   8.   https://www.z-wave.com/learn, last accessed on 08th February, 2023.
   9.   https://www.techtarget.com/iotagenda/definition/Z-Wave, last accessed on 08th February, 2023.




                                                                                                                        67
